(WDNC Rev. 01/17) Summons in a Civil Action



                                              UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District of North Carolina
Broadcast Music, Inc., EMI Blackwood Music Inc.,
Jam Entertainment, Inc., and Sony/ATV Latin Music
Publishing LLC,


                    Plaintiff                         )
                    v.                                )     Civil Action No.   3:24-cv-564
                                                      )
QC Social Group, LLC, d/b/a QC Social Lounge, and
Intha NoiVong Chanthavong,                            )
                                                      )
                                                      )
                                                      )
                    Defendant


                                                SUMMONS IN A CIVIL ACTION

TO: (Defendant’s nam e and address)
      Intha NoiVong Chanthavong
      394 East 8th Street, Apt. 5F
      Charlotte, NC 28202




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
          M. Keith Kapp
          Williams Mullen
          301 Fayetteville St.
          Suite 1700
          Raleigh, NC 27601



       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




                                                                               06/14/2024



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(WDNC Rev. 01/17) Summons in a Civil Action

Civil Action No.

                                                PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

       This summon for (name of individual and title, if any)
       _______________________________________
was received by me on (date) ______________________________________.

         I personally served the summons on the defendant at
          (place)____________________________________________________________________________
          on (date) ___________________________________; or

         I left the summons at the individual’s residence or usual place of abode with (name)
          _____________________________________________, a person of suitable age and discretion who
          resides there, on (date) _________________________, and mailed a copy to the individual’s last
          known address; or

         I served the summons on (name of individual) ___________________________________________,
          who is designated by law to accept service of process on behalf of (name of organization)
          _______________________ on (date) _______________________; or

         I returned the summons unexecuted because _______________________________________; or

         Other (specify):
          ___________________________________________________________________________

My fees are $ __________________ for travel and $ ___________________ for services, for a total of
$____________________.

I declare under penalty of perjury that this information is true.


Date:__________________________                            _______________________________________________
                                                                       Server’s signature

                                                           _______________________________________________
                                                                       Printed name and title

                                                           _______________________________________________
                                                                        Server’s address




Additional information regarding attempted service, etc:




                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 2 of 8
(WDNC Rev. 01/17) Summons in a Civil Action



                                              UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District of North Carolina
Broadcast Music, Inc., EMI Blackwood Music Inc.,
Jam Entertainment, Inc., and Sony/ATV Latin Music
Publishing LLC,


                    Plaintiff                         )
                    v.                                )     Civil Action No.   3:24-cv-564
                                                      )
QC Social Group, LLC, d/b/a QC Social Lounge, and
Intha NoiVong Chanthavong,                            )
                                                      )
                                                      )
                                                      )
                    Defendant


                                                SUMMONS IN A CIVIL ACTION

TO: (Defendant’s nam e and address)
      QC Social Group, LLC, d/b/a QC Social Lounge
      c/o Intha NoiVong Chanthavong, Member
      300 N. College St., Suite 105
      Charlotte, NC 28202




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
          M. Keith Kapp
          Williams Mullen
          301 Fayetteville St.
          Suite 1700
          Raleigh, NC 27601



       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




                                                                               06/14/2024



                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 3 of 8
(WDNC Rev. 01/17) Summons in a Civil Action

Civil Action No.

                                                PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

       This summon for (name of individual and title, if any)
       _______________________________________
was received by me on (date) ______________________________________.

         I personally served the summons on the defendant at
          (place)____________________________________________________________________________
          on (date) ___________________________________; or

         I left the summons at the individual’s residence or usual place of abode with (name)
          _____________________________________________, a person of suitable age and discretion who
          resides there, on (date) _________________________, and mailed a copy to the individual’s last
          known address; or

         I served the summons on (name of individual) ___________________________________________,
          who is designated by law to accept service of process on behalf of (name of organization)
          _______________________ on (date) _______________________; or

         I returned the summons unexecuted because _______________________________________; or

         Other (specify):
          ___________________________________________________________________________

My fees are $ __________________ for travel and $ ___________________ for services, for a total of
$____________________.

I declare under penalty of perjury that this information is true.


Date:__________________________                            _______________________________________________
                                                                       Server’s signature

                                                           _______________________________________________
                                                                       Printed name and title

                                                           _______________________________________________
                                                                        Server’s address




Additional information regarding attempted service, etc:




                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 4 of 8
(WDNC Rev. 01/17) Summons in a Civil Action



                                              UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District of North Carolina
Broadcast Music, Inc., EMI Blackwood Music Inc.,
Jam Entertainment, Inc., and Sony/ATV Latin Music
Publishing LLC,


                    Plaintiff                         )
                    v.                                )     Civil Action No. 3:24-cv-564
                                                      )
QC Social Group, LLC, d/b/a QC Social Lounge, and
Intha NoiVong Chanthavong,                            )
                                                      )
                                                      )
                                                      )
                    Defendant


                                                SUMMONS IN A CIVIL ACTION

TO: (Defendant’s nam e and address)
      QC Social Group, LLC, d/b/a QC Social Lounge
      c/o Adriane Jones Wilson, Registered Agent
      301 S. McDowell Street, Suite 125-1718
      Charlotte, NC 28204




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
          M. Keith Kapp
          Williams Mullen
          301 Fayetteville St.
          Suite 1700
          Raleigh, NC 27601



       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




                                                                             06/14/2024



                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 5 of 8
(WDNC Rev. 01/17) Summons in a Civil Action

Civil Action No.

                                                PROOF OF SERVICE
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       This summon for (name of individual and title, if any)
       _______________________________________
was received by me on (date) ______________________________________.

         I personally served the summons on the defendant at
          (place)____________________________________________________________________________
          on (date) ___________________________________; or

         I left the summons at the individual’s residence or usual place of abode with (name)
          _____________________________________________, a person of suitable age and discretion who
          resides there, on (date) _________________________, and mailed a copy to the individual’s last
          known address; or

         I served the summons on (name of individual) ___________________________________________,
          who is designated by law to accept service of process on behalf of (name of organization)
          _______________________ on (date) _______________________; or

         I returned the summons unexecuted because _______________________________________; or

         Other (specify):
          ___________________________________________________________________________

My fees are $ __________________ for travel and $ ___________________ for services, for a total of
$____________________.

I declare under penalty of perjury that this information is true.


Date:__________________________                            _______________________________________________
                                                                       Server’s signature

                                                           _______________________________________________
                                                                       Printed name and title

                                                           _______________________________________________
                                                                        Server’s address




Additional information regarding attempted service, etc:




                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 6 of 8
(WDNC Rev. 01/17) Summons in a Civil Action



                                              UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District of North Carolina
Broadcast Music, Inc., EMI Blackwood Music Inc.,
Jam Entertainment, Inc., and Sony/ATV Latin Music
Publishing LLC,


                    Plaintiff                         )
                    v.                                )     Civil Action No. 3:24-cv-564
                                                      )
QC Social Group, LLC, d/b/a QC Social Lounge, and
Intha NoiVong Chanthavong,                            )
                                                      )
                                                      )
                                                      )
                    Defendant


                                                SUMMONS IN A CIVIL ACTION

TO: (Defendant’s nam e and address)
      Intha NoiVong Chanthavong
      300 N. College St., Suite 105
      Charlotte, NC 28202




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
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          M. Keith Kapp
          Williams Mullen
          301 Fayetteville St.
          Suite 1700
          Raleigh, NC 27601



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                                                                             06/14/2024



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(WDNC Rev. 01/17) Summons in a Civil Action

Civil Action No.

                                                PROOF OF SERVICE
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       _______________________________________
was received by me on (date) ______________________________________.

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          (place)____________________________________________________________________________
          on (date) ___________________________________; or

         I left the summons at the individual’s residence or usual place of abode with (name)
          _____________________________________________, a person of suitable age and discretion who
          resides there, on (date) _________________________, and mailed a copy to the individual’s last
          known address; or

         I served the summons on (name of individual) ___________________________________________,
          who is designated by law to accept service of process on behalf of (name of organization)
          _______________________ on (date) _______________________; or

         I returned the summons unexecuted because _______________________________________; or

         Other (specify):
          ___________________________________________________________________________

My fees are $ __________________ for travel and $ ___________________ for services, for a total of
$____________________.

I declare under penalty of perjury that this information is true.


Date:__________________________                            _______________________________________________
                                                                       Server’s signature

                                                           _______________________________________________
                                                                       Printed name and title

                                                           _______________________________________________
                                                                        Server’s address




Additional information regarding attempted service, etc:




                   Case 3:24-cv-00564-FDW-SCR Document 8 Filed 06/14/24 Page 8 of 8
